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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                JONESBORO DIVISION

FRANKIE WALTON                                                                         PLAINTIFF

v.                                Case No. 3:17-cv-00326-KGB

KROGER LIMITED PARTNERSHIP I                                                  DEFENDANT/
d/b/a KROGER                                                        THIRD-PARTY PLAINTIFF

v.

ADVANTAGE SALES & MARKETING                                       THIRD-PARTY DEFENDANT
LLC d/b/a INTEGRATED MARKETING
SERVICES

                                             ORDER

       In a letter to the Court, counsel for plaintiff Frankie Walton, defendant/third-party plaintiff

Kroger Limited Partnership I, d/b/a Kroger (“Kroger”), and third-party defendant, Advantage

Sales & Marketing, LLC d/b/a Integrated Marketing Services represent that they have reached a

compromise settlement and that the entire action should be dismissed with prejudice. For good

cause shown, the Court dismisses this action with prejudice.

       Furthermore, on May 3, 2018, this Court entered an Order granting Kroger permission to

file a third-party complaint against Hartford Fire Insurance Company (“Hartford”) (Dkt. No. 46).

No third-party complaint has been filed to date, though a proposed third-party complaint was

attached to Kroger’s motion for leave to file a third-party complaint (Dkt. No. 41-2). In a letter to

the Court, counsel for Kroger and Hartford represent that this matter has settled and that Kroger’s

claims against Hartford also should be dismissed with prejudice. For good cause, the Court

dismisses with prejudice Kroger’s third-party claims against Hartford.
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It is so ordered this 17th day of May, 2018.


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                                               Kristine G. Baker
                                               United States District Judge




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